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                    EXHIBIT J
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                                                                  Page 1

1
2       STATE OF NEW YORK
        OFFICE OF ATTORNEY GENERAL
3       __________________________________________
4       In re:
5
6       FINANCIAL STATEMENTS INVESTIGATION
7       __________________________________________
8
                                             October 5, 2020
9                                            9:35 a.m.
10
11
12
13                     VIDEOCONFERENCE EXAMINATION
        UNDER OATH of ERIC F. TRUMP, held at 725
14      Fifth Avenue, New York, New York, before
        Wayne Hock, a Notary Public of the State
15      of New York.
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1
2       A P P E A R A N C E S:
3
4              STATE OF NEW YORK
               OFFICE OF ATTORNEY GENERAL
5                      28 Liberty Street
                       New York, New York 10005
6
               BY:        MATTHEW COLANGELO, ESQ.
7                         (via videoconference)
                          ERIC R. HAREN, ESQ.
8                         (via videoconference)
                          LOUIS M. SOLOMON, ESQ.
9                         (via videoconference)
                          COLLEEN K. FAHERTY, ESQ.
10                        (via videoconference)
                          AUSTIN THOMPSON, ESQ.
11                        (via videoconference)
                          GARY FISHMAN, ESQ.
12                        (via videoconference)
                          ALEX FINKELSTEIN, ESQ.
13                        (via videoconference)
                          KEVIN WALLACE, ESQ.
14                        (via videoconference)
15
               THE LAW OFFICES OF ALAN S. FUTERFAS
16                     565 Fifth Avenue
                       New York, New York 10017
17
               BY:        ALAN S. FUTERFAS, ESQ.
18                        (via videoconference)
19                        -and-
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21
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23
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1
2
        A P P E A R A N C E S: (Continued)
3
4
5              MUKASEY FRENCHMAN & SKLAROFF LLP
               Attorneys for Witness
6                         2 Grand Central Tower
                          140 East 45th Street
7                         New York, New York 10017
8              BY:        MARC L. MUKASEY, ESQ.
                          (via videoconference)
9
10             ALSO PRESENT:
11
                          SHAWN BUDD, Videographer
12                        (via videoconference)
13
14                                  *          *           *
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1
2                      THE VIDEOGRAPHER:                   We are on the
3              record.
4                      This is the videographer
5              speaking, Shawn Budd, with Veritext
6              Legal Solutions.
7                      Today's date is October 4, 2020
8              [sic] and the time is 9:35 a.m.
9                      We are here to take the remote
10             video deposition of Eric Trump in the
11             matter of Financial Statements
12             Investigation.
13                     Will counsel please introduce
14             themselves for the record.
15                     MR. COLANGELO: This is Matthew
16             Colangelo from the New York Attorney
17             General's office.
18                     And just one correction to the
19             record, Mr. Budd, I believe you said
20             today was October 4.                Today is the 5th
21             of October.
22                     THE VIDEOGRAPHER: My apologies,
23             yes.
24                     MR. COLANGELO: Also attending
25             this morning from the Attorney

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1
2              General's office are Colleen Faherty,
3              Austin Thompson, Alex Finkelstein,
4              Eric Haren, Gary Fishman, Kevin
5              Wallace, and Lou Solomon.
6                       And before we swear the witness,
7              let's have Mr. Trump's counsel
8              introduce themselves as well.
9                       MR. FUTERFAS: Good morning, Alan
10             Futerfas for Mr. Trump.
11                      Marc, you wanted to say hello?
12                      MR. MUKASEY: Sure.
13                      Good morning, Marc Mukasey of
14             Mukasey Frenchman and Sklaroff also
15             for Eric Trump.
16                      And Matthew, let me ask, are all
17             the folks you just named employees of
18             the Attorney General's office and
19             lawyers on this case or do they have
20             different positions?                And is anybody
21             who's not employed by your office on
22             the phone?
23                      MR. COLANGELO: Nobody not
24             employed by any office is on the
25             phone.     Everybody I introduced is an

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1
2              attorney with the Attorney General's
3              office working on this matter.
4                       MR. MUKASEY: Thank you.
5                       MR. COLANGELO: Wayne, can you
6              swear the witness.
7       E R I C         F.   T R U M P, having
8                   been first duly sworn by a
9                   Notary Public of the State of
10                  New York, upon being examined,
11                  testified as follows:
12      EXAMINATION BY
13      MR. COLANGELO:
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                                                                 Page 31

1                                   E. Trump
2              A.      Yes.
3              Q.      So did you start working at The
4       Trump Corporation immediately after
5       graduating from college?
6              A.      Virtually, yes.
7              Q.      And can you tell me what --
8                      MR. COLANGELO: Withdrawn.
9              Q.      You just said that you work for
10      The Trump Corporation.
11                     Can you tell me what The Trump
12      Organization is?
13             A.      I will let somebody who's much
14      better at answering entity questions
15      answer that than me, meaning structural
16      ownership questions.               I would let somebody
17      else handle that.            They'd do a much better
18      job than I would.
19             Q.      Okay.
20                     What's your understanding of The
21      Trump Organization?
22                     MR. FUTERFAS: I think Mr. Trump
23             will respond to the question with an
24             assertion of rights from here on
25             forward.

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1                                   E. Trump
2                      Mr. Trump, if you'd like to
3              assert your -- he will read an
4              assertion of rights at this point.
5                      THE WITNESS:            The Attorney
6              General of the State of New York has
7              abandoned fairness, justice,
8              impartiality when it comes to my
9              family and to our business.                 Before
10             Letitia James even took office, she
11             publicly stated that she already
12             concluded that The Trump Organization
13             engaged in wrongdoing and that she was
14             going to use the power of her office
15             to investigate our company, target my
16             family, and go after my father, the
17             President of the United States.                    She
18             said that, if elected, she would use
19             her office to look into every aspect
20             of my father's real estate deals.                     She
21             swore that she would definitely sue
22             him.    She claimed that he was an
23             illegitimate president more times than
24             I can count.         She boasted on video
25             that she would be, and I quote, "a

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1                                   E. Trump
2              real pain in the ass."                   And she
3              declared, "just wait until I'm in the
4              Attorney General's office.                     I've got
5              my eyes on Trump Tower."                     In perhaps
6              her most egregious statement while
7              campaigning she said, "we must join
8              with law enforcement and other
9              attorney generals across this nation
10             in removing this President from
11             office.      It's important that everyone
12             understand that the days of Donald
13             Trump are coming to an end."
14             Q.      Mr. Trump, my question was
15      what's your understanding what The Trump
16      Organization is.
17                     MR. FUTERFAS: And he's
18             responding to the question with an
19             assertion of rights which he will
20             make.
21                     Please continue reading your
22             assertion and your response.
23                     MR. COLANGELO: Hang on one
24             second.
25                     Mr. Futerfas, I'm trying to

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1                                   E. Trump
2              conduct this examination as
3              expeditiously as we can out of respect
4              for the witness and the court reporter
5              and the videographer and all the
6              attorneys.        My question was simply:
7              What's your understanding of what The
8              Trump Organization is.
9                      MR. MUKASEY: And Matthew, if
10             you're just a little patient, he is
11             going to assert his rights under the
12             United States Constitution.                  Just bear
13             with us.       We want this to go as
14             expeditiously as possible as well.
15             Let him make his response and assert
16             his rights.
17                     Thank you.
18             Q.      Go ahead, Mr. Trump.
19             A.      I'd like to start again if I'm
20      going to be interrupted.
21             Q.      Mr. Trump, I'm not going to have
22      my time and all my colleagues' time
23      wasted.       You've already made part of your
24      statement on the record.                    Why don't you
25      proceed.

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1                                   E. Trump
2              A.      Thank you.
3                      Letitia James made those
4       statements without a shred of evidence,
5       all while using them to fundraise and
6       solicit financial support for her
7       campaign.
8                      After the Attorney General was
9       elected, she followed through on these
10      promises, publicly stating that she'd use
11      every area of the law to investigate
12      President Trump, his business
13      transactions, and that of his family.
14      Almost immediately she launched what is
15      now an eighteen-month long fishing
16      expedition wasting tens of thousands of
17      hours and millions of taxpayer dollars.
18      She blatantly took an adversarial
19      political position leading the endorsement
20      of Attorney Generals for Joe Biden and
21      conveniently chose the first day of the
22      Republican National Conventions, moments
23      before my family was set to take the
24      stage, as an appropriate time to file a
25      lawsuit against our company.

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1                                   E. Trump
2                      The Attorney General has
3       continued to make public statements and
4       pronouncements that reflect clear bias,
5       and this conduct for an elected official
6       who's supposed to act without prejudice or
7       favor is unlawful, it's unethical, and
8       it's grossly improper.
9                      As we sit here today less than a
10      month away from the United States
11      presidential election and with my father
12      in Walter Reed Hospital, it has never been
13      more clear that Letitia James has
14      weaponized her office to target my father
15      and influence the upcoming election.
16                     The Attorney General's known
17      politicization of her duties and
18      responsibilities as an elected official
19      violate every known rule of ethics,
20      impartiality, and justice.                      She has a
21      politically-motivated vendetta against my
22      father and our family, and her actions
23      blatantly my due process rights as well as
24      the oath that she swore to uphold.
25                     After seeing Letitia James'

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1                                   E. Trump
2       videos and statements, the Attorney
3       General of the State of Louisiana, Jeff
4       Landry, stated, "this is what" --
5              Q.      Mr. Trump, I'm sorry, but this
6       answer is not responsive.                     If you have an
7       assertion of rights, please make your
8       assertion of rights.                I can't spend the
9       entire day with this sort of obstreperous
10      answer.       If you have an assertion of
11      rights, please make your assertion of
12      rights, but the answer you've been giving
13      so far is not responsive to my question.
14                     MR. FUTERFAS: He'll have an
15             assertion of rights in ninety seconds.
16             Q.      Go ahead.
17             A.      After Letitia James' videos and
18      statements, Attorney General of Louisiana,
19      Jeff Landry, stated, "this is what an
20      abuse of prosecutorial discretion looks
21      like.       No prosecutor should run on a
22      platform of threatening an American
23      citizen, his family, and his private
24      business with investigations and lawsuits,
25      all for political gain."                    The United

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1                                   E. Trump
2       States Supreme Court has stated that
3       prosecutors are prohibited from engaging
4       in arbitrary fishing expeditions,
5       initiating investigations out of malice or
6       an intent to harass, or using the power to
7       try and interfere with a President's
8       official duties.
9                      Furthermore, the Supreme Court
10      has made it very clear that any effort to
11      manipulate a President's policy decisions
12      or retaliate against a President for
13      official acts through the issuance of a
14      subpoena is unconstitutional.
15                     Years ago the Supreme Court
16      ruled that one of the Fifth Amendment's
17      basic functions is to protect innocent
18      individuals.          Given the circumstances, it
19      is clear that the Attorney General is not
20      proceeding impartially and is not
21      proceeding without bias or favor.                      She's
22      carrying out a deliberate biased political
23      agenda that she promised as a candidate in
24      order to hurt my family and to help the
25      opposing political party.                     This is a

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1                                   E. Trump
2       fundamental violation of due process.                        It
3       is a fundamental violation of my rights as
4       a citizen.
5                      Accordingly, under the direction
6       of my counsel and for all of the above
7       reasons, I respectfully decline to answer
8       the questions under the rights of
9       privileges afforded to every citizen under
10      the United States Constitution and all
11      parts thereof and thereto including, but
12      not limited, to the separation of powers
13      doctrine, the First Amendment, the Fourth
14      Amendment, the Fifth Amendment, the Sixth
15      Amendment, and the Fourteenth Amendment as
16      incorporated through the Fifth Amendment
17      due process clause.
18                     This will be my answer to all
19      further statements.
20             Q.      Mr. Trump, when you joined The
21      Trump Corporation, what was your title?
22             A.      For all the reasons provided in
23      my answer which are incorporated herein in
24      its entirety, I decline to answer that
25      question.

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1                                   E. Trump
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5              Q.      Do you have any reason to think
6       that Mr. McConney would have recorded a
7       telephone conversation with you that
8       didn't, in fact, happen?
9              A.      For all the reasons provided in
10      my answer, which is incorporated herein in
11      its entirety, I decline to answer the
12      question.
13             Q.      Did you tell Mr. McConney in
14      September, 2012 that New Castle was lands
15      to be donated?
16             A.      For all the reasons provided in
17      my answer, which is incorporated herein in
18      its entirety, I decline to answer the
19      question.
20             Q.      Had you, in fact, made a
21      decision that the New Castle portion of
22      the Seven Springs Estate was to be donated
23      by September 24, 2012?
24             A.      For all the reasons provided in
25      my answer, which is incorporated herein in

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1                                   E. Trump
2       its entirety, I decline to answer the
3       question.
4              Q.      Did you tell Mr. McConney in
5       September, 2012 that the North Castle land
6       was to be used as part of the main
7       mansion?
8              A.      For all the reasons provided in
9       my answer, which is incorporated herein in
10      its entirety, I decline to answer the
11      question.
12             Q.      And the main mansion in North
13      Castle is the Meyer Mansion or Meyer
14      House; right?
15             A.      For all the reasons provided in
16      my answer, which is incorporated herein in
17      its entirety, I decline to answer the
18      question.
19             Q.      Was any decision to donate the
20      New Castle land that was made in 2012 a
21      change from the prior year's plans?
22             A.      For all the reasons provided in
23      my answer, which is incorporated herein in
24      its entirety, I decline to answer the
25      question.

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